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U.S. Customs ax_ld
order Protectlon

RE: 982902958

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March 11, 2016

GEORGE AN|BOWE|
934 COLORADO DR
ALLEN TX 750134851

Dear GEORGE AN|BOWE|:

Thank you for your correspondence requesting reconsideration for your Trusted Traveler
application U.S. Customs and Border Protection (CBP) has completed a review of this matter.
P|ease allow me to outline our findings

Participation in CBP Trusted Traveler Programs is voluntary and is available to persons who
pass a comprehensive background check. App|icants may not qualify for participation if they:

o provide false or incomplete information on the application;

o have been convicted of any criminal offense or have pending criminal charges to include
outstanding warrants;

o have been found in violation of any Customs, lmmigration, or Agriculture regulations or
laws in any country;
are subjects of an investigation by any Federal, State, or local law enforcement agency;

o are inadmissible to the United States under lmmigration regulation, including applicants
with approved waivers of inadmissibility or parole documentation; or

o cannot satisfy CBP that all eligibility requirements are met.

CBP has determined that you do not meet the eligibility requirements for a Trusted Traveler
Program for the reasons originally provided to you on your denial notification letter. lf your
denial was based on a criminal conviction, customs, agriculture or immigration violation the
denial remains unchanged because you did not provide sufficient evidence that CBP used
incorrect or erroneous information to make the original denial determination

lf you were denied because you cannot satisfy CBP that all eligibility requirements are met, the
decision stands. CBP may use information from other agencies when making eligibility
decisions and is prohibited from releasing other agency information.

App|icants who do not qualify for participation are not prohibited from entering the United States.
However, they are not permitted to use a Trusted Traveler dedicated lane to do so.

Thank you for your interest in the CBP Trusted Traveler Programs.
Sincerely,
CBP Ombudsman

Trusted Traveler Programs
FAST, NEXUS, SENTR|, GLOBAL ENTRYTM

